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                               EXHIBIT 1
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Reviewer: Bob Q




                           Service Organization: U-Nest Holdings LLC
                           CRD:294806
                           MSRB:
                                              Agreementfor Recommending 529 Plan Securities

                                   The CollegeBound 529 ("Program') is a qualified tuition program governed by Section
                           529 of the Internal Revenue Code of 1986, as amended,sponsored by the State of Rhode island
                           and Providence Plantations (the "State") and administered by the Rhode Island Office of the
                           General Treasurer (the "Treasurer"), for which Ascensus College Savings Recordkeeping
                           Services, LLC is the program manager ("Program Manager") and Invesco Distributors, Inc.
                          ("Company") Is the distributor pursuant to the Program Management Agreement between the
                           Treasurer and the Program Manager dated March 18, 2016 and a Services Agreement to be
                           entered Into between the Program Manager and the Company (collectively, the "Program
                           Agreements"). You (the "Service Organization") are hereby authorized to recommend, on a non-
                          exclusive basis, the municipal fund securities (*Program Interests") In the Program, upon the
                          following terms and conditions,

                                    1.        NoommendatIon of Portkloo1lon Afroomontand Program intstrosts to
                                              clients /Client Transactions

                                 (a) Service Organization is authorized to recommend Program interests to its clients
                         ("Clients"). Service Organization will recommend such Program Interests only in accordance with
                          this Agreement, the then-current offering document for the Program (as may be supplemented
                         from time to time, the "Program Description"), the then-current participation agreement, and any
                         related new account application (collectively, "Participation Agreement"), and in compliance with
                         all applicable federal and state securities laws and such terms and conditions and procedures as
                         the Treasurer may from time to time prescribe. Service Organization will not be acting as a
                          broker or dealer with respect to the offer or sale of Program Interests to any person, Including its
                         Clients.

                                 (b) Service Organization is further authorized to manage Its Clients' accounts containing
                          Program Interests, including being authorized to view Information related to such Client Accounts
                          and to make qistributions from such accounts.
                                  (o) Service Organization acknowledges and agrees that there is no assurance that any
                          investment fund or product will be Included in the Program and, if included, such investment fund
                          or product may be removed at any time. Service Organization further acknowledges and agrees
                          that, except as required by the Treasurer, Company (I) shall not be obligated or responsible for
                          making Program interests available for sale to Clients In any jurisdiction, (II) reserves the right to
                          reject any purchase, exchange or withdrawal ("Order"), and (III) reserves the right, at its discretion
                          and without notice, to suspend or limit the sale of Program Interests or withdraw entirely the sale
                          of Program interests. Upon notice of any election to suspend sales of Program Interests,
                          Service Organization agrees to suspend all recommendations of such Program Interests until
                          otherwise notified by Company. Company shall have full authority to take such action as It may
                          deem necessary or advisable in respect of all matters pertaining to the offering of the Program
                          Interests. In no way shall the provisions of this Agreement limit the authority of Company, the
                          Program Manager or the Treasurer to take such lawful action as they may deem appropriate in
                          connection with all matters relating to the operation of the Program and the sale of Program
                          Interests.

                                (d)       Service Organization shall not give or cause to be given to anyone any
                         information or make any representation other than those contained in (I) the current Program
                         Description and the Participation Agreement or In currently applicable printed sales material
                         Issued by Company as information supplemental thereto specifically for use In connection with
                         the recommendation of Program Interests, Including without limitation, promotional materials,
                         sates literature, advertisements, press releases, announcements, statements, posters, signs,
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                     slides or other similar material (collectively, "Sales Materials"), and (ii) such other information
                                                                                                                         end
                      materials as may be approved in writing by Company prior to usage. Upon reasonable notice to
                     Service Organization, Company may In its sole discretion and as directed by the Treasurer,
                     terminate at any time the use of any Sales Material or other Information and materials which may
                     have been previously approved by Company for use in connection with Service Organization
                     activities hereunder and Service Organization shall comply with any notice of such termination
                     and shall not use, or permit any representative, employee or other agent to use; such Sales.
                     Material or other information or materials thereafter; provided, however, Company reserves the
                     right to require Service Organization to immediately terminate the use of any such Sales Material
                     or other Information or materials to the extent Company or the Treasurer in their sole discretion
                     deem those materials not to be in compliance with Applicable Law and Service Organization shall
                     promptly comply with any notice of such termination and shall not use, or permit any
                     representative, employee or other agent to use, such Sales Material or other information or
                     materials thereafter. Company will supply to Service Organization the Program Descriptions,
                     Participation Agreement and Sales Material as issued in such reasonable quantity as Service
                     Organization may request.

                              (e) Service Organization will have no right under this Agreement to cause any
                     distribution, withdrawal or transfer to be made from or under the Program or any account thereof
                     or in connection with any change of ownership of any Program account or the beneficiary of any
                     such account, other than as may be authorized (i) in accordance with any procedures the
                     Treasurer, Program Manager or Company may specify in their sole discretion from time to time
                     and (lI) pursuant to the terms that Service Organization may be authorized under any applicable
                     agreements between Service Organization and Client,

                             (f)      Service Organization acknowledges and agrees that accounts will not be opened
                     nor will contributions be accepted in accounts opened or maintained through arrangements with
                     employers (including Service Organization and its affiliates) or any third-party organizations
                     involving payroll, periodic or similar account deduction on behalf of Clients or any other person,

                            (g)     The Participation Agreement and Program contributions are subject to
                     acceptance by the Treasurer and the Program Manager in their sole discretion, become effective
                     for purposes of this Agreement only upon confirmation by the Treasurer and the Program
                     Manager, and are subject to rejection by the Treasurer and the Program Manager.

                              2.       Corneensation,

                            Service Organization will not be entitled to receive any commissions or other
                     compensation with respect to the recommendation of Program Interests to its Clients.

                              3.       csrtg_in Agreementst Rprasentailses, Warranties anctior Covemet.

                             (a)       Each of the parties acknowledges that:

                                      (I)       it shall keep confidential the terms and conditions of this Agreement and
                                       all proprietary Information of the Program and will disclose such information to
                                      third parties only upon receipt of written authorization from Company or as may
                                       be required by Applicable Law. Notwithstanding the foregoing, Service
                                       Organization may disclose such information relating to the. Program to its
                                      employees, attorneys and other representatives solely for purposes of performing
                                       its obligations under this Agreement or as required by Applicable Law.
                                      (Ii)      It shall not share or otherwise use nonpublic personal information in
                                       violation of or in a manner inconsistent with applicable privacy laws, including,
                                       but not limited to, Title V of the Gramm Leach Bliley Act of 1999 and applicable
                                      state law.

                     Agreement fey Recommending 529 Plan Securities                                            Page 2 of 6
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                                        (iii)   It and Its employees will, upon reasonable request, be available during
                                        normal business hours to consult with Company andtor its designees concerning
                                        the performance of the services and other obligations under this Agreement

                             (b)     Each of the parties hereto represents and warrants that (i) It has full power and
                     authority, and has taken all action necessary to enter Into and perform this Agreement, (II) this
                     Agreement has been fully and validly executed, (ill) this Agreement constitutes a legal, valid and
                     binding agreement between the parties enforceable In accordance with its terms, and (iv) by
                     entering Into this Agreement, it will not breach or otherwise impair any other agreement or
                     understanding with any other person, corporation or entity.

                               4.       Limitarioas on Our Ralationsigti
                              Neither this Agreement nor the performance by Service Organization or Company of its
                     respective obligations hereunder will be considered to constitute an exclusive arrangement, or to
                     create a partnership, association or Joint venture between the parties, the Program Manager or
                     any Governmental Authority, and Service Organization shall not make any representation to the
                     contrary. Neither Company, Its affiliates, the Program Manager, nor any Governmental Authority
                     will be liable for Service Organization's acts or obligations under this Agreement or any other
                     advice or services provided by Service Organization to Clients. Service Organization will not
                     have the right or authority to assume, create or incur any liability or any obligations ofany kind,
                     express or Implied, against or in the name of, or on behalf of, Company or its affiliates or the
                     Program Manager or any Governmental Authority. Company will not be under any obligation to
                     Service Organization, except for obligations expressly assumed by Company In this Agreement.
                     Service Organization will not use nor allow its representatives, employees, partners, Joint
                     venturers or agents to use the name of Company or the name of any of their affiliates, the
                     Program Manager, or any Governmental Authority (including any trademark, trade name, service
                     mark or logo) without our prior written consent except as required by law,

                              5
                              .        Amendment

                             Company reserves the right to amend this Agreement at any time upon written notice to
                     Service Organization, and Service Organization's recommendation of Program Interests after
                     notice of such amendment has been sent shall constitute the Service Organization's agreement
                     to such amendment.

                              6.       Wandrawtd end Termination.
                             (a)      The Treasurer and Company reserve the right, In their sole discretion, and
                     without notice, to suspend the offer and sale of the Program Interests or withdraw, at any time,
                     the offer and sale of the Program Interests entirely or in one or more states or other jurisdictions,

                              (b)     Either party may terminate this Agreement, without penalty, upon thirty(30) days'
                     prior written notice to the other party. Company may terminate Immediately in the event that (I)
                     Service Organization files a petition in bankruptcy or a petition seeking similar relief under any
                     bankruptcy,. Insolvency, or similar law, or a proceeding Is commenced against Service
                     Organization seeking such relief, (II) Company receives notice from Service Organization or
                     otherwise of the occurrence of any proceeding, civil action or arbitration involving the Program
                     or Program Interests, (iii) the. Program Manager's agreement with the. Treasurer for the
                     provision of services to the Program terminates, or (iv) the agreement between Company's
                     affiliate and the Program Manager for the provision of services to the Program terminates.
                     Service Organization agrees to notify Company promptly and to immediately suspend
                     recommendations of Program Interests upon occurrence of the events described In sub-
                     clauses (I) and (ii) of this subsection 5(b).


                     Agreement for Recommending 529 Plan Securities                                           Page 3 of9
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                               (c)      Either party may terminate this Agreement effective immediately In the event
                      that, in the sole discretion of the terminating party, the non-terminating party has breached any of
                      its representations, warranties or obligations under the Agreement.

                             (d)       In addition, subject to the terms of the Program Agreements, the Treasurer may
                      terminate this Agreement as to the Program at any time upon 30 days' prior written notice to each
                      party.

                             (e)      Company's failure to terminate this Agreement for a particular cause will not
                     constitute a waiver of the right to terminate this Agreement at a later date for the same or another
                     cause. Sections 3(a), 6(e), 8, 9, and 10 of thls Agreement will survive termination of this
                     Agreement.

                             (I)        In the event this Agreement is terminated for any reason, Service Organization
                     will assist In the orderly transition to any entity succeeding to the control of the Program accounts
                     as directed by the Treasurer, Company, the Program Manager or their designees including by
                     promptly transferring to such successor historical records relating to such accounts.
                              7.        Assignmcnt
                             This Agreement is not assignable or transferable without the prior written consent of the
                     other party, except that upon 30 days' prior written notice to Service Organization, Company may
                     assign or transfer this Agreement to: any successor that becomes principal distributor of Program
                     Interests. Absent Company's prior written consent, this Agreement will terminate automatically in
                     the event of its assignment(as defined In the Investment Company Act of 1940, as amended) by
                     Service Organization.

                              8.        J(irlscitatlen. govarninal,aw, No Trial by Aim Limitations on Liability.
                              This Agreement will be interpreted, construed and enforced in accordance with the laws
                     of the State of Rhode Island, without reference to its conflict of laws principles. The courts of the
                     State of Rhode Island and the United States District Court for the District of Rhode Island shall
                     have continuing exclusive jurisdiction over any and all disputes related to or arising out of this
                     Agreement. THE PARTIES HEREBY IRREVOCABLY WAIVE ALL RIGHTS TO TRIAL BY JURY
                     IN ANY ACTION PROCEEDING OR COUNTERCLAIM ARISING OUT OF OR RELATING TO
                     THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY. Neither party shall
                     be liable for any failure or delay In performance under this Agreement to the extent said failure or
                     delay is proximately caused by conditions beyond its reasonable control and occurring without its
                     fault or negligence, including, but not limited to, acts of God, government restrictions, wars,
                     insurrections and/or any other cause beyond the reasonable control of the party whose
                     performance is affected; provided that, as a condition to the claim of non-liability, the party
                     experiencing the difficulty shall give the other prompt written notice, with full details following the
                     occurrence of the cause relied upon. NEITHER PARTY SHALL BE LIABLE TO THE OTHER
                     PARTY FOR ANY SPECIAL, INDIRECT, INCINDENTAL, PUNITIVE OR CONSEQUENTIAL
                     DAMAGES, INCLUDING BUT NOT LIMITED TO BUSINESS INTERRUPTION, LOSS OF
                     BUSINESS REPUTATION OR OPPORTUNITY OR LOSS OF PROFITS, ARISING OUT OF OR
                     RESULTING FROM THE BREACH OF THIS AGREEMENT BY THE OTHER PARTY. EVEN IF
                     ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. This Section shall survive termination
                     of this Agreement.
                              9.       Notices.

                             All notices required or permitted to be given under this Agreement will be given in writing
                     and deemed given (a) when delivered by hand (with written confirmation of receipt); (b) when
                     received by the addressee If sent by a nationally recognized overnight courier (receipt requested);

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                     Or (c) on the third day after the date mailed, by certified or registered
                     requested, postage prepaid. Notices must be sent to the respective partiesmall, return receipt
                     indicated below (or at such other address for a party as shall be            at the address(es)
                                                                                       specified in a notice given in
                     accordance with this Section 11).

                     Toe Serv' a la       rs              j
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                                    hi Pre           s    G
                                                      A-e,,fk /03
                                                       r
                     To:                                                  With a copy to:



                             Notwithstanding the foregoing, (I) notices which are traditionally sent via
                                                                                                         NSCC
                    may be sent by those means and shall be effective as specified in the NSCC rules, Systems
                    specified therein, when sent, and (it) notices which are traditionally sent                or if not
                                                                                                          by electronic
                    transmission (such as back office communications) may be sent In that manner
                                                                                                           and shall be
                    effective when sent.

                             10.      jeffscellanedus,

                            (a)        Neither party hereto shall be, act as, or represent itself as, the
                    representative of the other, nor shall either party have the right or authority to assume, agent or
                                                                                                                 create
                    incur any liability or any obligation of any kind, express or Implied, against or in the name of, or
                                                                                                                     or
                    behalf of the other party. Except as provided in Section 10(g), this Agreement is not intended on
                    and shall not, create any rights against either party hereto by any third party solely on accountto,
                    this Agreement. Neither party hereto shall use the name of the other party In any manner            of
                                                                                                                   without
                    the other party's prior consent and except as required by Applicable Law.

                            (b)      This Agreement constitutes the entire agreement and understanding between the
                    parties with respect to the Program and supersedes any and all prior agreements between
                                                                                                                 the
                    parties and between Service Organization and the Program Manager (including its affiliates)
                                                                                                                with
                    respect to the Program, the sale of Program Interests or any other subject covered by
                    Agreement                                                                                   this

                            (o)     if any provision of this Agreement le held or made invalid by a court or regulatory
                    agency decision, statute, rule or otherwise, the remainder of thls Agreement will continue
                    valid and enforceable.                                                                        to be

                          (d)       The captions in this Agreement are Included for convenience of reference only
                   and in no way define or limit any of the provisions of this Agreement or otherwise
                                                                                                      affect their
                   construction or effect.

                          (e)     This Agreement will become effective and be binding upon. Company and
                   Service Organization when signed by Company and accepted by Service Organization in
                                                                                                       the
                   space provided below,

                            (f)      Except as otherwise authorized by Service.Organization, neither Company nor its
                   affiliates shalt use names, addresses or other information of Clients or Service
                                                                                                       Organization's
                   prospective clients known to Company solely as a result of Service Organization's activities under
                   this Agreement for any purpose other than fulfillment of Company's duties and responsibilities
                                                                                                                   In
                   connection with the Program, or as may otherwise be required under Applicable Law.



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                               (g)     Service Organization acknowledges and agrees that the Program
                      subject to Section 10(h), any applicable Governmental Authority are express       Manager and,
                      party beneficiaries of this Agreement with respeCt to the Program and        and Intended third
                      of this.Agreement. directly against it, Service Organization acknowlemay  enforce the provisions
                                                                                            dges and agrees that the
                      Program Manager and each Governmental Authority Is relying on the
                                                                                            representations contained
                      in this Agreement as if they were made directly to each such entity.

                      The undersigned hereby accepts and agrees to all of the provisions set forth in
                      the foregoing Agreement as of the date executed by Company.



                      Invesco Diehl) tors, Inc. ("C      piny")


                     Signature       j
                                           441
                     Print Name

                     Title
                                         \Le
                     Date



                     Service Organization Name:



                                                         By:

                                                        (
                                                        (Authoriz
                                                         Authorizeedd Si nature)

                                                         Name(print):                  kle442,2ra..-
                                                         Title:          C-4-ro
                                                         Date:          37;1yt a„497,
                                                         CRD Number:          WO/0C
                                                         MSRB Number:

                                                         Address: (X
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                                                                                                        Page 8 of6
